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 8
 9                           UNITED STATES DISTRICT COURT
10                       NORTHERN DISTRICT OF CALIFORNIA
11
12                                        )          CASE NO.
     JUNIOR AGUILAR, on behalf of himself )
13   and all others similarly situated,   )          COLLECTIVE ACTION UNDER
                                          )          THE FAIR LABOR STANDARDS
14                Plaintiff,              )          ACT
                                          )
15          v.                            )          1. Unpaid Minimum Wages
                                          )          2. Unpaid Overtime
16   AMERICAN-PARAGON PROTECTIVE )
     SEVICES, LLC., AMERICAN EAGLE        )
17   PROTECTIVE SERVICES CORP., and       )
     DOES 1 to 10,                        )          JURY TRIAL DEMANDED
18                                        )
                  Defendants.             )
19                                        )
                                          )
20
21
22         Plaintiff Junior Aguilar, on behalf of himself and all others similarly situated,
23 hereby states his causes of action against Defendants American-Paragon Protective
24 Services, LLC., American Eagle Protective Services Corp., and Does 1-10,
25 (collectively “Defendants”) as follows:
26                                         PARTIES
27         1.    Plaintiff Junior Aguilar is a resident of Contra Costa County. Plaintiff’s
28 written consent to participate in this action is attached.
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 1        2.     The “Collective” is defined as all present and former non-exempt security
 2 guards employed by Defendants in California within three years prior to the date of
 3 the filing of this action through the date of judgment or approval, whichever is earlier.
 4        3.     Defendant American-Paragon Protective Services, LLC (“American-
 5 Paragon”) is a Texas limited liability company that is authorized to do business in the
 6 State of California. Any acts or omissions of American-Paragon’s employees as
 7 alleged herein occurred while they were working within the course and scope of their
 8 employment.
 9        4.     Defendant American Eagle Protective Services Corp. (“American
10 Eagle”) is a Texas corporation that is authorized to do business in the State of
11 California. Any acts or omissions of American Eagle’s employees as alleged herein
12 occurred while they were working within the course and scope of their employment.
13        5.     Plaintiff is unaware of the true names or capacities of the Defendants sued
14 herein as Does 1 to 10, and therefore sues said Doe Defendants by such fictitious
15 names. Plaintiff will amend this Complaint to insert the true names and capacities of
16 the Doe Defendants when the information has been obtained. Plaintiff is informed and
17 believes, and based on such information and belief alleges, that each of the fictitiously
18 named Doe Defendants has participated in some way in the wrongful acts and
19 omissions alleged below and are therefore liable.
20
21                            JURISDICTION AND VENUE
22        6.     The Court has jurisdiction pursuant to 28 U.S.C. § 1331 because this
23 action arises under the Fair Labor Standards Act.
24        7.     Venue is proper in the Northern District pursuant to 28 U.S.C. § 1391(a)
25 because a substantial part of the acts or omissions giving rise to these claims occurred
26 at Moffett Federal Airfield.
27
28
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 1                          INTRADISTRICT ASSIGNMENT
 2        8.     Pursuant to Local Rule 3-2, the case should be assigned to the San Jose
 3 Division since the action arose in Santa Clara County.
 4
 5                              GENERAL ALLEGATIONS
 6        9.     At all times relevant, Plaintiff and the Collective were Defendants’
 7 employees.
 8        10.    At all times relevant, Defendants, directly or indirectly, were the
 9 employers and/or joint employers of Plaintiff and the Collective.
10        11.    At all times relevant, Plaintiff and the Collective were permitted to work
11 by, and economically dependent upon, the business of Defendants.
12        12.    At all times relevant, Defendants jointly determined, shared, or allocated
13 the power to direct, control, or supervise Plaintiff and the Collective through direct
14 and/or indirect means.
15        13.    At all times relevant, Defendants jointly controlled all aspects of Plaintiff
16 and the Collective’s work duties, set their pay and schedule, and acted in such a way
17 that Defendants were employers within the meaning of the FLSA.
18        14.    At all times relevant, Defendants formally and/or as a matter of practice,
19 jointly determined, shared, or allocated the power to – directly or indirectly – hire or
20 terminate Plaintiff and the Collective or to modify the terms of, or conditions of, their
21 employment.
22        15.    At all times relevant, either formally or as a matter of practice, Defendants
23 jointly determined, shared, or allocated responsibility over functions ordinarily carried
24 out by an employer, such as handling payroll and providing the facilities, tools, or
25 materials necessary for Plaintiff and the Collective to complete their work.
26        16.    At all times relevant, Defendants jointly reaped benefits from the non-
27 payment and/or underpayment of wages to Plaintiff and the Collective.
28        17.    Plaintiff and members of the Collective are armed security guards.
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 1        18.    When Plaintiff and the Collective arrived at work, they were required to
 2 shave and shine their boots and don their uniforms, bullet-proof vests, belts, and radios.
 3        19.    After Plaintiff and the Collective were in their uniforms, they were then
 4 required to wait for the weapon vault to open so that they could retrieve their weapons.
 5        20.    The weapon vault was only opened at the time their shift was scheduled
 6 to begin.
 7        21.    Since the weapon vault was only opened at the time their shift was
 8 scheduled to begin, and because they were required to start their shift armed and in full
 9 uniform, it follows that Plaintiff and the Collective were required to arrive prior to
10 their shift start time in order to don their uniforms. However, Plaintiff and the
11 Collective were not paid for this time in violation of Frlekin v. Apple, Inc., 8 Cal.5th
12 1098 (2020).
13        22.    On average, Plaintiff and the Collective were required to arrive at the
14 worksite approximately 20 minutes early in order to have time to shave, shine their
15 boots, don their uniforms, and wait to retrieve their weapons
16        23.    During this time, Plaintiff and the Collective were not considered “on the
17 clock” and were therefore not paid for this pre-shift activity.
18        24.    Likewise, after the end of each shift, Plaintiff and the Collective were
19 required to doff their uniforms and return their weapons.
20        25.    The doffing process took approximately 10 minutes and, as with the pre-
21 shift activity described above, Plaintiff and the Collective were not considered “on the
22 clock” during this time and were therefore not paid for this post-shift activity.
23        26.    As a result of their failure to receive wages for these compensable
24 donning and doffing periods, Plaintiff and the Collective were underpaid wages.
25        27.    Additionally, Plaintiff and the Collective were paid on an hourly basis but
26 were paid different rates for different shifts – otherwise known as a “shift
27 differentials.”
28        28.    When computing the regular rate for Plaintiff and the Collective,
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 1 Defendants only used the base rate to calculate overtime. However, Defendants were
 2 required to use the weighted average of all rates and wages paid.
 3        29.   Under the FLSA, a weighted average method is appropriate when more
 4 than one hourly rate is paid to the employee. The weighted average should have
 5 included the shift differential payments and the health and welfare payments. The
 6 health and welfare payments did not meet the criteria in 29 CFR § 778.215 so the
 7 health and welfare payments should have been included in the regular rate calculation.
 8        30.   Under the weighted average method, total earnings are divided by the
 9 number of hours worked to arrive at the regular rate of pay. 29 C.F.R. § 778.115. This
10 regulation provides: “Where an employee in a single workweek works at two or more
11 different types of work for which different nonovertime rates of pay (of not less than
12 the applicable minimum wage) have been established, his regular rate for that week is
13 the weighted average of such rates. That is, his total earnings (except statutory
14 exclusions) are computed to include his compensation during the workweek from all
15 such rates, and are then divided by the total number of hours worked at all jobs.”
16        31.   As a result of Defendants’ failure to use the weighted average to calculate
17 the regular rate for overtime, Plaintiff and the Collective were not properly
18 compensated for overtime worked.
19
20                     COLLECTIVE ACTION ALLEGATIONS
21        32.    Plaintiff brings these causes of action under the FLSA as a collective
22 action pursuant to 29 U.S.C. § 201, et seq, on behalf of all present and former non-
23 exempt security guards employed by Defendants in California within three years prior
24 to the date of the filing of this action through the date of judgment or approval,
25 whichever is earlier.
26        33.   At all relevant times, Plaintiff and Collective have been similarly situated
27 and have been subject to Defendants’ common practices, policies, programs,
28 procedures, protocols and plans of willfully failing and refusing to pay them for all
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 1 their hours worked, and pay for all overtime owed.
 2        34.    These Causes of Action for violations of the FLSA are being brought and
 3 maintained as an “opt-in” collective action pursuant to 29 U.S.C. § 216(b).
 4
 5                             FIRST CAUSE OF ACTION
 6              VIOLATION OF FLSA – UNPAID MINIMUM WAGES
 7                                 Against All Defendants
 8        35.    Plaintiff and the Collective re-allege and incorporate by reference each
 9 and every allegation contained in the paragraphs above.
10        36.    Defendants were required to pay Plaintiff and the Collective the minimum
11 wage as set forth in 29 U.S.C. § 206.
12        37.    At all times relevant, Defendants had a policy and practice of refusing to
13 pay Plaintiff and the Collective for compensable “donning and doffing” time.
14        38.    At all times relevant, Defendants’ practices violated the provisions of
15 the FLSA regarding payment of a minimum wage to Plaintiff and the Collective.
16        39.    Defendants have willfully violated the FLSA by knowingly and
17 intentionally failing to pay Plaintiff and the Collective the minimum wage.
18        40.    Accordingly, Plaintiff and Collective are entitled to recover wages for all
19 time spent “donning and doffing” their uniforms as damages for Defendants’
20 violations of the FLSA's minimum wage provisions.
21        41.    The conduct alleged herein constitutes a willful violation of the FLSA;
22 which extends the statute of limitations to three years.
23        42.    As a result of Defendants’ violations of the FLSA, Plaintiff and the
24 Collective have suffered damages and seek recovery of their unpaid wages.
25        43.    Because Defendants’ violation of the FLSA’s minimum wage provisions
26 were willfully committed, Plaintiff and the Collective are also entitled to liquidated
27 damages in an amount equal to the total amount of unpaid wages.
28
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 1                            SECOND CAUSE OF ACTION
 2                   VIOLATION OF FLSA – UNPAID OVERTIME
 3                                 Against All Defendants
 4        44.    Plaintiff and the Collective re-allege and incorporate by reference each
 5 and every allegation contained in the paragraphs above.
 6        45.    Pursuant to the FLSA, Plaintiff and the Collective were entitled to
 7 overtime pay at a rate of 1.5 times their regular rate of pay for every hour worked in
 8 excess of 40 hours during the workweek pursuant to 29 USC § 207.
 9        46.    At all times relevant, Defendants failed to compensate Plaintiff and the
10 Collective at a rate of 1.5 times their regular rate of pay for all hours in excess of 40
11 hours during the workweek because Defendants did not properly use the weighted
12 average in calculating Plaintiff and the Collective’s regular rate of pay.
13        47.    Furthermore, because the off-the-clock time spent donning and doffing
14 their uniforms was often overtime, Plaintiff and the Collective regularly worked
15 overtime hours which were not compensated at all.
16        48.    The actions of Defendants as alleged herein constitute a willful violation
17 of the FLSA’s provisions relating to overtime pay, extending the statute of limitations
18 to three years.
19        49.    As a result of Defendants’ violations of the FLSA, Plaintiff and the
20 Collective have suffered damages and seek recovery of their unpaid overtime wages.
21        50.    Because Defendants’ violation of the FLSA’s overtime provisions were
22 willfully committed, Plaintiff and the Collective are entitled to liquidated damages in
23 an amount equal to the total amount of unpaid overtime compensation.
24        51.
25                                PRAYER FOR RELIEF
26 WHEREFORE, on behalf of himself and the Collective, Plaintiff prays for relief as
27 follows:
28
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 1     A) As to the First Cause of Action: That the court grant an award of unpaid wages
 2 and an equal amount in liquidated damages to Plaintiff and the Collective.
 3     B) As to the Second Cause of Action: That the court grant an award of grant an
 4 award of unpaid overtime wages and an equal amount in liquidated damages to
 5 Plaintiff and the Collective.
 6     C) As to All Causes of Action:
 7           i.   Certification as an FLSA collective action;
 8          ii.   Issuance of notice allowing similarly situated individuals to opt in to this
 9                case pursuant to 28 U.S.C. § 216(b);
10         iii.   Designation of Plaintiff as representative of the collective action;
11         iv.    Designation of Plaintiff’s counsel as class counsel for the collective
12                action;
13          v.    An award of costs, interest, and attorney’s fees to the extent, if any,
14                allowed by law; and
15         vi.    For such other and further relief as this Court deems just and proper.
16
17 Date: March 17, 2020                              FRONTIER LAW CENTER
18
19                                                   /s/ Adam Rose
                                                     Attorney for Plaintiff
20
                                                     Junior Aguilar
21
22 DEMAND FOR JURY TRIAL
23 Plaintiff demands a jury trial pursuant to Fed. R. Civ. Pro. 38(b).
24 Date: March 17, 2020                              FRONTIER LAW CENTER
25
26                                                   /s/ Adam Rose
                                                     Attorney for Plaintiff
27
                                                     Junior Aguilar
28
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